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                        Exhibit A
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                                          Jeﬀrey Stephen




                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                     Charlottesville Division




  ELIZABETH SINES, et al.,
                  Plaintiffs
         vs.                                Civil Action No.
  JASON KESSLER, et al.,                    3:17-cv-00072-NKM
                  Defendants
  _____________________________/




                 REMOTE VIDEO-RECORDED DEPOSITION
                                  OF
                      JEFFREY STEPHEN SCHOEP
                          JULY 21, 2020




  REPORTED BY:
  R. Dwayne Harrison
  Job No. 181000
     Case 3:17-cv-00072-NKM-JCH Document 1242-1 Filed 10/17/21 Page 3 of 36 Pageid#:
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  (appearances CONT.)
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  (APPEARANCES CONT.)


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  (appearances CONT.)
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  (APPEARANCES CONT.)


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             Richmond, Virginia 23220




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             THOMAS FEISSNER, The Videographer
             ALEX LANGSAM [via telephone]
             ANNE BIGLER [via telephone]
             DANIEL ROY, III [via telephone]
             JILL GOLUB [via telephone]
             WELLINGTON MACKEY, JR. [via telephone]
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                          July 21st, 2020


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                                                                                  Page 8
  1                  JEFFREY STEPHEN SCHOEP
  2                  P-R-O-C-E-E-D-I-N-G-S
  3              THE VIDEOGRAPHER: Good morning, everyone.
  4      My name is Tom Feissner and I am a certified legal
  5      video specialist in association with TSG Reporting
  6      Incorporated.
  7              Due to the severity of the COVID-19 and
  8      following the practice of social distancing, I will not
  9      be in the same room with the witness. Instead, I will
  10      record this videotaped deposition remotely. The
  11     reporter, Dwayne Harrison, will also not be in the same
  12      room and will swear the witness remotely.
  13             Do all parties stipulate to the validity of
  14      this video recording and remote swearing and that it
  15      will be admissible in the courtroom as if it had been
  16      taken following Rule 30 of the Federal Rules of Civil
  17      Procedure and the State's rules where this case is
  18      pending?
  19             MR. ISAACSON: Yes.
  20             MR. REBROOK: Yes.
  21             THE VIDEOGRAPHER: Very good. Thank you.
  22      I will now begin to read.
  23             This is the remote video deposition of
  24      Jeffrey Stephen Schoep taken in the matter of Elizabeth
  25      Sines vs. Jason Kessler et al. in the United States
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                                                                                  Page 9
  1                 JEFFREY STEPHEN SCHOEP
  2      District Court for the Western District of Virginia,
  3      case number 3:17-CV-00072-NKM. Today's date is
  4      Tuesday, July 21st, 2020. The time on the video
  5      monitor is 9:42 a.m. My name is Thomas K. Feissner
  6      CLVS and I am the videographer. The court reporter is
  7      Dwayne Harrison.
  8              We are here today on behalf of TSG
  9      Reporting, New York, New York. All parties to this
  10      deposition are appearing remotely and have agreed to
  11      the witness being sworn in remotely.
  12              Due to the nature of remote reporting,
  13      please pause briefly before speaking to ensure all
  14      parties are heard completely.
  15              Counsel will now please introduce
  16      themselves beginning with counsel for the Plaintiff.
  17              MR. ISAACSON: Bill Isaacson with the law
  18      firm of Paul Weiss, the Plaintiffs.
  19              MR. BARKAI: Yotam Barkai, Boies Schiller
  20      law firm, Plaintiffs.
  21              THE VIDEOGRAPHER: Counsel for the
  22      Defendant?
  23              MR. REBROOK: This is Edward ReBrook. I'm
  24      counsel for Mr. Schoep.
  25              THE VIDEOGRAPHER: The court reporter will
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                                             Jeﬀrey Stephen


                                                                                 Page 10
  1                  JEFFREY STEPHEN SCHOEP
  2      now sworn in the deponent.
  3      Whereupon,
  4                  JEFFREY STEPHEN SCHOEP,
  5      called as a witness, having been first duly sworn to
  6      tell the truth, the whole truth, and nothing but the
  7      truth, was examined and testified as follows:
  8              EXAMINATION BY MR. ISAACSON:
  9          Q      Mr. Schoep, my name is Bill Isaacson. I'll
  10      be asking you questions today. if you don't understand
  11      a question either because of the way I said it or
  12      because of the technology, let me know and I'll be
  13      happy to repeat it or rephrase it.
  14              Would you state your full name for the
  15      record?
  16         A      Jeffrey Stephen Schoep.
  17         Q      Where do you currently reside?
  18         A      Michigan.
  19         Q      Where in Michigan?
  20         A      I'm sorry?
  21         Q      Where in Michigan?
  22         A      Eastpoint, Michigan.
  23         Q      Tell me your educational background.
  24         A      I'm sorry?
  25         Q      What education have you had educational
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                                             Jeﬀrey Stephen


                                                                                 Page 11
  1                 JEFFREY STEPHEN SCHOEP
  2      background?
  3          A     High school diploma.
  4          Q     I'm sorry, that crackled. Would you repeat
  5      that?
  6          A     High school diploma.
  7          Q     Where did you graduate high school?
  8          A     My diploma was St. Cloud Technical High
  9      School.
  10         Q     That's St. Cloud where?
  11         A     Minnesota.
  12         Q     Following high school, would you describe
  13      your employment history, the jobs you have had?
  14         A     All kinds of different jobs. Everything
  15      from washing dishes, siding houses and [Inaudible.]
  16         Q     Are you currently employed?
  17         A     Not currently.
  18         Q     What was the last position that you had?
  19         A     I ran by own business.
  20         Q     What was that business?
  21         A     Actually, I should correct that. I'm
  22      currently operating a nonprofit, but it's something
  23      that's fairly new. So I don't know if that's
  24      considered -- counts as employment or not.
  25         Q     All right. What's the nonprofit that you
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                                             Jeﬀrey Stephen


                                                                                 Page 12
  1                   JEFFREY STEPHEN SCHOEP
  2      are currently running?
  3          A       Beyond Barriers.
  4          Q       And would you describe what Beyond Barriers
  5      is, please?
  6          A       Beyond Barriers is a counter-extremism
  7      organization. One of the things I do is help people
  8      walk away from various forms of extremism. I do public
  9      speaking. I do consulting, things like that.
  10               MR. ISAACSON: How is the court reporter
  11      doing?
  12               THE REPORTER: I'm having difficulties,
  13      obviously. It's still -- maybe people if they could
  14      mute their -- I'm just having -- it's just very
  15      crackly.
  16               MR. BARKAI: Everyone mute themselves if
  17      they're not speaking.
  18               MR. ISAACSON: Let's see if that makes a
  19      difference.
  20      BY MR. ISAACSON:
  21         Q       AND is Beyond Barriers, has that been
  22      approved as a nonprofit? Is it a corporation? Explain
  23      to me what the status is.
  24         A       It's a 501(c)(3).
  25         Q       And has it been approved as a 501(c)(3)?
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                                                                                 Page 13
  1                  JEFFREY STEPHEN SCHOEP
  2          A    I believe so, yes.
  3          Q    And are you the head of Beyond Barriers?
  4          A    Yes. The founder.
  5              THE REPORTER: I'm sorry?
  6          A    The founder, yes.
  7          Q    And do you receive a salary from Beyond
  8      Barriers?
  9          A    We haven't gotten that far yet.
  10         Q       Does that mean you have not received a
  11      salary or any compensation yet?
  12         A    Correct, correct.
  13         Q       Now before Beyond Barriers, what was your
  14      last position of any type?
  15         A    What was the last?
  16         Q       Position, whether you were employed or you
  17      are working for an organization.
  18         A    I ran the record label NSM Records.
  19              THE REPORTER: One more time.
  20         A    NSM 88 Records.
  21         Q       And when did you stop running NSM 88
  22      Records?
  23         A    2019, sometime in mid 2019. Early 2019. I
  24      don't know the exact date.
  25         Q       Was that a paid position?
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                                             Jeﬀrey Stephen


                                                                                 Page 17
  1                 JEFFREY STEPHEN SCHOEP
  2      it was me doing everything.
  3          Q     And did the record label continue after you
  4      left or did it shut down?
  5          A    It shut down. I left the NSM I believe it
  6      was March 2nd or 3rd, somewhere in early March and the
  7      store, the record store stayed open for a couple more
  8      months, a few more months, something like that, before
  9      I shut it down.
  10         Q     All right. Now, the National Socialist
  11      Movement is a nonprofit corporation based in Michigan;
  12      is that right?
  13         A     It's been dissolved, but it was -- it was a
  14      nonprofit corporation based in Michigan, yes.
  15         Q     And you were a member of the organization
  16      for some period of years?
  17         A     27 years.
  18         Q     And you had a leadership position with the
  19      organization throughout that period; is that correct?
  20         A     For about 25 years.
  21         Q     And one title you had was commander; is
  22      that right?
  23         A     Correct.
  24         Q     Was that for about 25 years?
  25         A     Correct.
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                                                                                 Page 18
  1                 JEFFREY STEPHEN SCHOEP
  2          Q     And another title you had was president; is
  3      that right?
  4          A    It may have been referred to as president
  5      on Articles of Incorporation. But within the
  6      organization I was typically national director or
  7      commander.
  8          Q     And regardless of whether you were referred
  9      to as commander or national director or president, you
  10      were in charge of the organization for approximately 25
  11      years; is that right?
  12         A     Correct.
  13         Q     And you were responsible for the operations
  14      and conduct of NSM for 25 years?
  15         A     I don't know how to answer that question.
  16      I was in charge of the corporation or the head of the
  17      corporation, yes.
  18         Q     And you were responsible for what that --
  19      what NSM did for approximately 25 years?
  20         A     That's such a broad -- that's such a broad
  21      question. I mean, I don't want to get in something
  22      where you say, well, a member did this in 1998 and that
  23      was my responsibility, you know.
  24              So I don't know how -- if I should answer
  25      that or how to answer this question.
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                                                                                 Page 19
  1                   JEFFREY STEPHEN SCHOEP
  2          Q    But if it was an action by the
  3      organization, ultimately -- you were at the top of that
  4      organization, ultimately that was your responsibility?
  5          A    I made the calls for the organization, yes.
  6          Q    Was there any --
  7              MR. REBROOK: This is Edward ReBrook. I
  8      have an objection to the form of the question.
  9              Is the suggestion that anything done by an
  10      individual in the organization is an act by the
  11      organization?
  12              MR. ISAACSON: I'll move on to the next
  13      question.
  14      BY MR. ISAACSON:
  15         Q     Now, did -- was there any board such as a
  16      board of directors or any other supervisory board for
  17      NSM during the 25 years that you were the head of the
  18      organization?
  19         A    On Articles of Incorporation, there was
  20      president and I believe in the State of Michigan it's
  21      three -- two or three other board members.
  22         Q     And when you left NSM in 2019, who were the
  23      two or three other board members?
  24         A    Hmm, I don't have the papers in front of me
  25      and my memory is not the greatest. There was some
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                                             Jeﬀrey Stephen


                                                                                 Page 35
  1                   JEFFREY STEPHEN SCHOEP
  2          Q      It says in the first question and answer
  3      that NSM is America's largest national socialist group.
  4                Was that correct at the time?
  5          A     We believe that to be correct at the time.
  6          Q      And did you have the chance to review this
  7      interview after it came out, this -- as it was printed
  8      on the website?
  9          A     I don't recall either way.
  10         Q      So you -- you knew you were interviewed,
  11      but you don't remember reading it afterwards; is that
  12      right?
  13         A      I remember doing the interview, but I don't
  14      recall if I -- if I reread it or read through it or
  15      anything like that afterwards. I don't recall. It's
  16      possible, but I don't recall.
  17         Q      One statement attributes to you, in
  18      response to question 3, is that "they say communism is
  19      dead, but international Jewry has plagued both sides,
  20      capitalism and communism, and they are in the thick of
  21      the evil that plaques us to this day."
  22               Is that a statement you would have made at
  23      the time?
  24         A      I made a lot of statements like that at the
  25      time.
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                                                                                 Page 58
  1                    JEFFREY STEPHEN SCHOEP
  2          Q     Any other divisions?
  3          A     Media department. I think that was not
  4      really a division, but I think that's all I can think
  5      of off the top of my head.
  6          Q     Was community outreach a division?
  7          A     That would probably be department rather
  8      than a division.
  9          Q     Did you have departments other than
  10      community outreach?
  11         A     Yeah, there was a public relations, there
  12      was a media department. That's all I can think of
  13      right off for the time being.
  14         Q     Now the -- go ahead. I didn't mean to
  15      interrupt.
  16         A     No, I was just saying it's possible there
  17      was other departments. I just can't think of it.
  18         Q     The Nationalist Front was an agreement that
  19      certain groups would participate together; is that
  20      right?
  21         A     The Nationalist Front was basically an idea
  22      on paper that -- there was a lot of bickering in the
  23      white nationalist movement. So the idea of the
  24      Nationalist Front was that groups would try to work
  25      together for at least in the public -- in the public
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                                                                                 Page 59
  1                 JEFFREY STEPHEN SCHOEP
  2      arena. That's all the Nationalist Front was. There
  3      was not an actual organization. It did not have a
  4      specific leader or anything like that. It was just
  5      basically an agreement that groups would cooperate and
  6      add support to each other in the area of -- for
  7      example, if one group from the Nationalist Front was
  8      doing a rally, members from other groups could support
  9      that and not -- you know, without issue.
  10         Q     The Nationalist Front was an agreement
  11      amongst its members to cooperate and add support to one
  12      another; is that right?
  13         A     Well, I mean, I don't know if I like the
  14      term member necessarily because there was never any --
  15      it was basically just an agreement that groups would
  16      work together. So there wasn't, like, you -- a person
  17      couldn't join the Nationalist Front like an individual
  18      or something like that because it never existed as an
  19      actual physical organization. It was more of a paper
  20      agreement that groups would cooperate together.
  21         Q     When I say members, did the Nationalist
  22      Front have member organizations?
  23         A     Yeah, I believe so.
  24         Q     Was the Nationalist Front --
  25              THE REPORTER: Start again, please. Start
       Case 3:17-cv-00072-NKM-JCH Document 1242-1 Filed 10/17/21 Page 21 of 36 Pageid#:
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                                             Jeﬀrey Stephen


                                                                                 Page 60
  1                 JEFFREY STEPHEN SCHOEP
  2      again, please.
  3          Q     Was the Nationalist Front an agreement
  4      amongst the organizations -- let me start that over.
  5              Was the Nationalist Front an agreement
  6      amongst member organizations to work together and
  7      support one another?
  8          A    That sounds accurate.
  9          Q     And was it an agreement that when the
  10      organizations -- member organizations conducted
  11      political activities, that they would do so in a
  12      generally similar way?
  13         A     That sounds accurate.
  14         Q      And the members of the Nationalist Front
  15      were listed on the website of the Nationalist Front; is
  16      that right?
  17         A     I believe so.
  18              MR. ISAACSON: Can we get the website
  19      membership handy, Yotam?
  20              MR. BARKAI: I'm marking this Exhibit 11.
  21              (Schoep Exhibit 11 was marked for purposes
  22      of identification.)
  23      BY MR. ISAACSON:
  24         Q      All right. You do recognize this as a page
  25      from the Nationalist Front website?
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                                             Jeﬀrey Stephen


                                                                                 Page 61
  1                   JEFFREY STEPHEN SCHOEP
  2          A    It appears to be.
  3          Q    And there's a list of the member
  4      organizations there, the National Socialist Movement,
  5      the Traditionalist Worker Party, the League of the
  6      South, White Lives matter, Vanguard America, America
  7      First Committee, RNP America, VBS, 28 Social Club and
  8      USAS.
  9              Do you recognize those as member
  10      organizations of the Nationalist Front?
  11         A       It appears that is what was on the website.
  12         Q       But separate from the -- what's on the
  13      website, you understood those to be member
  14      organizations of the Nationalist Front; is that
  15      correct?
  16         A       Some time has passed. I don't even -- a
  17      couple of these groups I don't really even -- I
  18      couldn't even tell you what the initials stand for on a
  19      couple of the last ones. But this does appear to be
  20      the list of member organizations.
  21         Q       So the Nationalist -- you knew the National
  22      Socialist Movement was a member organization of the
  23      Nationalist Front, correct?
  24         A       In the context of how I explained it, that
  25      it was an agreement between the groups. But the
       Case 3:17-cv-00072-NKM-JCH Document 1242-1 Filed 10/17/21 Page 23 of 36 Pageid#:
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                                             Jeﬀrey Stephen


                                                                                 Page 62
  1                 JEFFREY STEPHEN SCHOEP
  2      Nationalist Front was never like a registered -- like
  3      the NSM was registered, incorporated in the State of
  4      Michigan. The Nationalist Front was never incorporated
  5      or anything like that. I said it was an idea on paper.
  6          Q    So with the understanding that the
  7      Nationalist Front was an agreement rather than
  8      something that was incorporated, the nationalist
  9      socialist movement was a member organization of the
  10      Nationalist Front; is that correct?
  11         A    The organizations weren't -- it says member
  12      organizations here, but there was nothing -- there was
  13      no leader. So it's hard to -- I don't know how to
  14      answer this question other than how I've already
  15      explained it, that the Nationalist Front was basically
  16      just an idea that part of the reason for the formation
  17      was is that a lot of the groups in the white
  18      nationalist movement bicker amongst each other and the
  19      idea behind the Nationalist Front was there was an
  20      agreement between groups that they wouldn't behave in
  21      that manner anymore and they would work together in the
  22      public sphere.
  23         Q     The National Socialist Movement joined that
  24      agreement that you described that was the Nationalist
  25      Front; is that correct?
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                                                                                 Page 63
  1                   JEFFREY STEPHEN SCHOEP
  2          A    Correct.
  3          Q       You knew the Traditionalist Worker Party
  4      was part of the agreement that was the Nationalist
  5      Front?
  6          A    Yes.
  7          Q       You knew the League of the South was a
  8      member of that agreement that was the nationalist
  9      front; is that correct?
  10         A       Yes.
  11         Q       Vanguard America was a member of that
  12      agreement of the Nationalist Front; is that correct?
  13         A       Correct.
  14              [The court reporter requested a brief
  15      recess.]
  16              MR. ISAACSON: Mr. Schoep, it's not just
  17      you and I that get to take breaks.
  18              Do you want to take ten minutes?
  19              THE REPORTER: Plenty, plenty.
  20              THE VIDEOGRAPHER: We're now going off the
  21      video record. The time is 11:07. One moment please.
  22      We're off.
  23              (A recess was taken.)
  24              THE VIDEOGRAPHER: We are now going back on
  25      video record. The time is 11:16.
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                                                                                 Page 64
  1                 JEFFREY STEPHEN SCHOEP
  2      BY MR. ISAACSON:
  3          Q     The Nationalist Front also called itself a
  4      voluntary alliant; is that right?
  5          A     That sounds accurate.
  6          Q     And one purpose was to pool all the talent,
  7      resources and manpower of the member organizations; is
  8      that right?
  9          A     That sounds -- that could be accurate. As
  10      I explained, the idea of the Nationalist Front was to
  11      get people to cooperate and not to bicker amongst each
  12      other.
  13         Q      And it was open to organizations that had a
  14      proven commitment to struggle for the white nationalist
  15      vision; is that right?
  16         A     I really don't -- is that -- I don't know
  17      if that's the statement that was on the site or what.
  18         Q      Why don't we look at what's been previously
  19      marked as Exhibit 80?
  20               MR. BARKAI: I'm marking this as
  21      Exhibit 12.
  22               (Schoep Exhibit 12 was marked for purposes
  23      of identification.)
  24      BY MR. ISAACSON:
  25         Q      This will be Exhibit 12 to the Schoep
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                                                                                 Page 65
  1                  JEFFREY STEPHEN SCHOEP
  2      deposition.
  3                Do you recognize this as a page from
  4      Nationalist Front website, Mr. Schoep?
  5          A     It looks familiar.
  6          Q      It says: "The Nationalist Front is a
  7      voluntary alliance that movement leaders are encouraged
  8      to join in order to pool your talent resources in
  9      manpower with several other national, regional and
  10      local organizations."
  11               That was a correct statement at the time it
  12      was made?
  13         A      Yes. It says that and it also says that
  14      the Nationalist Front is not an organization in itself,
  15      but it's an alliance of organizations. That's the best
  16      way I can explain it as well.
  17         Q      It's not -- it's not a corporation, it's
  18      not a registered organization, it's an alliance for a
  19      group?
  20         A      Yeah. That's all it was, was an agreement
  21      for an alliance, yes.
  22         Q      It had members. It refers to memberships,
  23      right?
  24         A      I see that term used on the site. But
  25      again, it's sort of a loose term. So it's like that's
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                                                                                 Page 66
  1                 JEFFREY STEPHEN SCHOEP
  2      a member organization. I don't want to get tripped up
  3      over wording, but that's -- as I explained, it was just
  4      basically an agreement between groups to work together
  5      just as it says here on this page.
  6          Q    And you were only allowed to be a member to
  7      the agreement if you were an organization with a proven
  8      commitment to struggle for the white nationalist
  9      vision; is that right?
  10         A     That sounds -- is that what it says in the
  11      first paragraph there?
  12         Q     Second paragraph.
  13         A     Second paragraph? That would be accurate
  14      if that's -- apparently this is from the website, so...
  15         Q     And you were involved in helping to
  16      organize the agreement or alliance that we're calling
  17      the Nationalist Front; is that right?
  18         A     Yes.
  19         Q     And who did you work with to form the
  20      organization?
  21              I'm sorry, who did you work with to form
  22      the alliance?
  23         A     Well, the groups that are -- that are
  24      listed on there.
  25         Q     And you were trying to put together an
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                                                                                 Page 67
  1                   JEFFREY STEPHEN SCHOEP
  2      umbrella group of many organizations that would all
  3      work together?
  4          A    That was the whole -- the whole concept of
  5      the Nationalist Front.
  6          Q     And then the website for the Nationalist
  7      Front was owned by the Traditionalist Worker Party; is
  8      that right?
  9          A    Correct.
  10         Q     And the Traditionalist Worker Party gave
  11      permission to the Nationalist Front to use the website
  12      and was a member of the agreement; is that right?
  13         A     That sounds accurate.
  14         Q     And you were involved in ongoing work to
  15      assist in having the member organizations of the
  16      Nationalist Front work together; is that right?
  17         A     I guess I'm really not understanding that
  18      question.
  19         Q     So you help start the organization, but
  20      then you continued to work with the organization; isn't
  21      that right?
  22         A     Again, you know, calling it an organization
  23      is -- is sort of semantics or -- or...
  24         Q     Let me rephrase the question then.
  25              You helped form the alliance and then you
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                                                                                 Page 68
  1                 JEFFREY STEPHEN SCHOEP
  2      continued to work with the alliance after it was
  3      formed; is that right?
  4          A    Well, yeah, I suppose. The organizations
  5      participated in different things together and rallies
  6      and events and things of that nature which was the
  7      whole idea behind it, yes.
  8          Q     The alliance participated together in
  9      rallies and did it also have meetings?
  10         A     There may have been one or two meetings,
  11      but particularly it was mainly for, like, the street
  12      activism type of stuff rallies or protests, things like
  13      that.
  14         Q      So the Nationalist Front worked together
  15      for street activities?
  16         A     Demonstrations, protest rallies.
  17         Q      The -- if we could look at JS350.
  18              MR. BARKAI: We'll mark this as Exhibit 13.
  19              (Schoep Exhibit 13 was marked for purposes
  20      of identification.)
  21      BY MR. ISAACSON:
  22         Q      Do you recognize this as an after action
  23      report from July 2017 from the NSM?
  24         A     That appears to be what it is.
  25         Q      And, typically, you would have reviewed and
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                                                                                Page 139
  1                  JEFFREY STEPHEN SCHOEP
  2                MR. BARKAI: Exhibit 29.
  3                (Schoep Exhibit 29 was marked for purposes
  4      of identification.)
  5      BY MR. ISAACSON :
  6          Q      All right. This was a tweet you sent out
  7      on August 13th, correct?
  8          A     That's what the date is on it, correct.
  9          Q      And you say it's a standard -- "it was an
  10      honor to stand with you all in Charlottesville this
  11      weekend" and then you refer to NSM.
  12               That's the National Socialist Movement,
  13      right?
  14         A      Correct.
  15         Q      Then you refer to -- then it says NF, the
  16      National -- Nationalist Front, correct?
  17         A      Correct.
  18         Q      Then TWP. That's the Traditionalist
  19      Workers Party; is that correct?
  20         A      Correct.
  21         Q      LOS, that's League of the South?
  22         A      Correct.
  23         Q      VA, that's Vanguard America?
  24         A      Yup.
  25         Q      You have to help me out with ECK.
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                                                                                Page 140
  1                   JEFFREY STEPHEN SCHOEP
  2          A    I don't recall what this is.
  3          Q    What about CHS?
  4          A    I don't recall what that is either.
  5          Q    Okay. And you're saying it was an honor to
  6      stand together with all of those groups in
  7      Charlottesville, correct?
  8          A    That's what I said at the time, correct.
  9          Q    And refer to them all as true warriors,
  10      correct?
  11         A       That's what it says, correct.
  12         Q       So by August 13, you knew that you had
  13      stood together at Unite the Right with the Nationalist
  14      Front organization members, correct?
  15         A       Yes.
  16         Q       You knew you had stood together with
  17      members of the Traditional Workers Party, correct?
  18         A       Correct.
  19         Q       You knew you had stood together with
  20      members of the League of the South, correct?
  21         A       Correct.
  22         Q       You knew you had stood together with
  23      members of Vanguard America?
  24         A       Correct.
  25         Q       If we can now do -- the next one, it's got
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                                                                                Page 141
  1                  JEFFREY STEPHEN SCHOEP
  2      the Breitbart link embedded into it, but doesn't have
  3      a -- I don't know that mine has a date. Oh, here we
  4      are, ECK.
  5                You remember now that ECK would be East
  6      Coast Knights, right?
  7          A     Okay. Yeah, that's correct.
  8          Q      CHS is Confederate Hammerskins?
  9          A     Okay.
  10               MR. ISAACSON: If we can mark this next one
  11      as 30.
  12               (Schoep Exhibit 30 was marked for purposes
  13      of identification.)
  14      BY MR. ISAACSON :
  15         Q      This is another DK announcement that you
  16      issued on or after August 13th that included an article
  17      about Charlottesville; is that correct?
  18         A      That's correct.
  19         Q      And you say NSM and myself were there
  20      referring to Charlottesville, correct?
  21         A      Correct.
  22         Q      You battled your way through the streets
  23      along with your allies; is that correct?
  24         A      Correct.
  25         Q      And you battled your way through the
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                                             Jeﬀrey Stephen


                                                                                Page 142
  1                 JEFFREY STEPHEN SCHOEP
  2      streets with those allies that included the Nationalist
  3      Front, correct?
  4          A     The Nationalist Front. Again, as I
  5      explained repeatedly, was a paper agreement between
  6      various groups that we would cooperate together for
  7      events.
  8          Q     And you announced that you battled your way
  9      through the streets of Charlottesville along with your
  10      allies in the Nationalist Front, correct?
  11         A     Correct.
  12         Q     And you battled your way through the
  13      streets along with your allies in the Traditionalist
  14      Workers Party?
  15         A     Correct, this is what the post says.
  16         Q     And you also said in your post that you
  17      battled your way through the streets along with your
  18      allies in the League of the South, correct?
  19         A     It states batted our way through in one
  20      sentence and then the rest are all named afterwards.
  21      You're focusing on this battle, but it was a battle for
  22      those of us that were there. I mean, we were viciously
  23      and violently attacked, so...
  24         Q     And the other groups you refer to, they
  25      were fighting alongside of you, correct?
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                                                                                Page 143
  1                   JEFFREY STEPHEN SCHOEP
  2          A    I mean, I can't speak for these other
  3      organizations on what they are doing. All I know is
  4      that there was -- it was a terrible day and there was a
  5      lot of violence and stuff flying through the air and I
  6      was mainly focused on not getting hit with a brick or
  7      rock and fists and everybody around me was covered in
  8      urine from balloons and things that were thrown and so
  9      I wasn't really paying attention to -- if somebody was
  10      ten people behind me or in front of me, I didn't pay
  11      attention because I was watching stuff flying at my own
  12      face.
  13         Q     You say you were -- you say it was a
  14      terrible day and that you were subjected to a lot
  15      violence.
  16              In your announcement you said it was a
  17      glorious day for white solidarity, right?
  18         A     Yeah, I did say that.
  19         Q     And you mentioned fighting alongside and
  20      battling together.
  21              Are there any reports where you describe
  22      being subjected to any violence that day?
  23         A     What do you mean by report?
  24         Q     VK announced anything about violence that
  25      you were subjected to?
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                                                                                Page 248
  1                   JEFFREY STEPHEN SCHOEP
  2      Charlottesville?
  3          A    No, we weren't -- I wasn't -- I didn't have
  4      anything to do with the organizing of Charlottesville.
  5      So I wouldn't have had any contact with authorities or
  6      anything like that on the ground.
  7          Q    The -- I understand that you are now part
  8      of a different organization. But at the time you were
  9      with NSM, what did you consider to be the goals of the
  10      white supremacist movement?
  11         A     In what context or -- that's a really broad
  12      question.
  13         Q     Well, give me your broad answer then.
  14      We'll see if we can narrow it down.
  15         A     What is the -- what were the goals of the
  16      NSM? Is that the question?
  17         Q     Sure, let's start there.
  18         A     Well, I believe the political platform for
  19      that is on their website and all of that. But,
  20      basically, the idea of the organization was creation
  21      of, like, a white ethnostate or organization billed
  22      itself as a -- in more -- in more recent years, in the
  23      last few years that I was with the group, it was being
  24      billed as, like, a white civil rights organization, but
  25      it's explicitly national socialist or Nazi. So I guess
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  1                 JEFFREY STEPHEN SCHOEP
  2      that's kind of the short summary of it.
  3          Q    Did you view that as to be one of the goals
  4      of the Unite the Right rally in Charlottesville, to
  5      achieve progress towards a white ethnostate?
  6          A    I don't think that was really the goal of
  7      Charlottesville. It seemed to be more of -- it was
  8      being billed as something to unite -- unite the various
  9      fractions of the far right and my understanding of it
  10      was the rally itself was over the confederate
  11      statutes -- the confederate statue there.
  12         Q     Who did you consider to be the leaders of
  13      Unite the Right rally?
  14         A     Well, I knew -- from what I knew, Kessler,
  15      Jason Kessler, had the permit for the rally. He was
  16      not -- as far as I knew, wasn't a known leader or
  17      anything like that before that, but he was the permit
  18      holder and the person that was doing the footwork on
  19      the ground.
  20              I saw it as -- my impression was that it
  21      was more of, like, an alt-right -- an alt-right thing
  22      and the groups on -- the groups, what is often referred
  23      to as, like, the hard right where the National
  24      Socialist Movement and some of the groups that we
  25      worked with didn't particularly work with the alt-right
